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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE

                                                                 )
           In re:                                                )   Chapter 11
                                                                 )
           Hospital Acquisition LLC, et al.,1                    )   Case No. 19-10998 (BLS)
                                                                 )
                                    Debtors.                     )   Jointly Administered
                                                                 )
                                                                 )   Bidding Procedures Hearing Date:
                                                                 )          June 27, 2019 at 11:30 a.m. (ET)
                                                                 )   Bidding Procedures Obj. Deadline:
                                                                 )          June 20, 2019 at 4:00 p.m. (ET

                                  DEBTORS’ MOTION FOR (I) AN ORDER
                           ESTABLISHING BIDDING PROCEDURES AND GRANTING
                             RELATED RELIEF AND (II) AN ORDER OR ORDERS
                                  APPROVING THE SALE OF THE ASSETS

                    The debtors and debtors in possession in the above-captioned chapter 11 cases

           (collectively, the “Debtors”) seek entry of an order, substantially in the form attached hereto as

           Exhibit A (the “Bidding Procedures Order”), (i) approving the proposed bidding procedures

           attached hereto as Exhibit B (the “Bidding Procedures”) by which the Debtors will solicit and

           select the highest or otherwise best offer for the sale of substantially all or a portion of their

           assets (the “Assets”) through one or more sales of the Assets (each, a “Sale Transaction” or

           “Sale”); (ii) establishing procedures for the assumption and assignment of executory contracts


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                       The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
           identification number, are: Hospital Acquisition LLC (3232); Hospital Acquisition Intermediate Sub LLC (9609);
           LifeCare Holdings LLC (f/k/a Hospital Acquisition Sub I LLC) (6612); LifeCare Behavioral Health Hospital of
           Pittsburgh LLC (9835); New LifeCare Hospitals LLC (7959); New LifeCare Hospitals of Dayton LLC (2592); New
           LifeCare Hospitals of Milwaukee LLC (2428); New LifeCare Hospitals of South Texas LLC (4237); Hospital
           Acquisition Sub II LLC (7920); New LifeCare Management Services LLC (4310); New LifeCare REIT 1 LLC
           (9849); New LifeCare Hospitals of Mechanicsburg LLC (0174); New Pittsburgh Specialty Hospital LLC (7592);
           LifeCare Vascular Services, LLC (5864); New LifeCare Hospitals of North Texas LLC (4279); New LifeCare
           Hospitals of Chester County LLC (1116); New LifeCare Hospitals of Northern Nevada LLC (4534); New San
           Antonio Specialty Hospital LLC (2614); New LifeCare Hospitals of North Carolina LLC (7257); New LifeCare
           Hospitals of Pittsburgh LLC (8759); New NextCare Specialty Hospital of Denver LLC (6416); Hospital Acquisition
           MI LLC (4982); LifeCare Pharmacy Services LLC (3733); New LifeCare REIT 2 LLC (1315); New LifeCare
           Hospitals at Tenaya LLC (6891); and New LifeCare Hospitals of Sarasota LLC (8094). The Debtors’ address is
           5340 Legacy Drive, Suite 150, Plano, Texas 75024.



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         and unexpired leases, including notice of proposed cure amounts (the “Assumption and

         Assignment Procedures”); (iii) approving the form and manner of notice with respect to certain

         procedures, protections, schedules, and agreements described herein and attached hereto,

         including the Debtors’ selection of one or more stalking horse bidders (each a “Stalking Horse

         Bidder”), if any, and the provision of Bid Protections (as defined below) to such Stalking Horse

         Bidder, if necessary; (iv) scheduling (a) an auction (the “Auction”) if the Debtors receive two or

         more timely and acceptable Qualified Bids (as defined below) and (b) a final hearing (the “Sale

         Hearing”) to approve one or more Sales of the Assets; and (v) granting related relief. The

         Debtors further request that, at the Sale Hearing, this Court enter an order or orders (each, a

         “Sale Order”), which will be filed before the Sale Hearing: (i) authorizing the sale of the Assets

         free and clear of liens, claims, interests, and encumbrances (collectively, the “Interests”);

         (ii) authorizing the assumption and assignment of certain executory contracts and unexpired

         leases; and (iii) granting related relief. In support of this motion, the Debtors respectfully state as

         follows:2

                                               PRELIMINARY STATEMENT

                  1.       By this motion, the Debtors seek approval of the Bidding Procedures and related

         relief to facilitate the continuation of their efforts to market and sell substantially all or a portion

         of their Assets. Since March 2019, the Debtors and their non-Debtor affiliates have worked with

         their advisors to evaluate various strategic alternatives. In connection with that process, the

         Debtors determined that the most viable and value-maximizing path would be to pursue a sale of

         substantially all or a portion of their Assets. To that end, the Debtors initiated a flexible

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                    A detailed description of the Debtors and their businesses, and the facts and circumstances supporting this
         Motion and the Debtors’ restructuring, are set forth in greater detail in the Declaration of James Murray, Chief
         Executive Officer of Hospital Acquisition LLC, in Support of Chapter 11 Petitions and First Day Motions [D.I. 2]
         (the “First Day Declaration”), filed contemporaneously with the Debtors’ voluntary petitions for relief filed under
         chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”).
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         marketing and sale process designed to maximize the participation of potential purchasers while

         maintaining maximum optionality for the Debtors and their stakeholders.

                2.      Since the Petition Date, the Debtors have continued that marketing and sale

         process, and the Debtors have filed this motion to facilitate their continued efforts to market and

         sell their Assets. The Bidding Procedures contemplate a process that (i) is open to all potential

         bidders, (ii) protects the best interests of the Debtors’ estates and creditors, and (iii) preserves the

         Debtors’ right to exercise their fiduciary duties in connection with the sale process.             The

         approach embodied in the Bidding Procedures reflects the Debtors’ belief that conducting a fair

         and robust auction at this time is the most viable alternative to maximize the value of their Assets

         for the benefit of their creditors. Additionally, the Debtors are required to conduct a marketing

         and sale process under the terms of their postpetition financing facility, and the Debtors’ secured

         creditors are supportive of the sale process. For all of the foregoing reasons and those set forth

         herein, the Debtors believe that continuing the marketing and sale process pursuant to the

         Bidding Procedures is a valid exercise of their business judgment, is in the best interests of their

         estates and creditors, and should be approved.

                                                   JURISDICTION

                3.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334

         and the Amended Standing Order of Reference from the United States District Court for the

         District of Delaware, dated as of February 29, 2012. This matter is a core proceeding within the

         meaning of 28 U.S.C. § 157(b)(2). Pursuant to rule 9013-1(f) of the Local Rules of Bankruptcy

         Practice and Procedure of the United States Bankruptcy Court for the District of Delaware (the

         “Local Rules”), the Debtors consent to the entry of a final order by the Court in connection with

         this motion to the extent that it is later determined that the Court, absent consent of the parties,


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         cannot enter final orders or judgments in connection herewith consistent with Article III of the

         United States Constitution.

                  4.    Venue in this Court is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                  5.    The statutory predicates for the relief requested herein are Bankruptcy Code

         sections 105, 363, and 365, rules 2002, 6004 and 6006 of the Federal Rules of Bankruptcy

         Procedure (the “Bankruptcy Rules”), and Local Rules 2002-1 and 6004-1.

                                                 BACKGROUND

         A.       General Background

                  6.    Commencing on May 6, 2019 (the “Petition Date”), each of the Debtors filed a

         voluntary petition for relief under chapter 11 of the Bankruptcy Code in this Court. The Debtors

         continue to operate their businesses and manage their properties as debtors in possession

         pursuant to Bankruptcy Code sections 1107(a) and 1108. No request for the appointment of a

         trustee or examiner has been made in these chapter 11 cases.

                  7.    On May 17, 2019, the United States Trustee for the District of Delaware (the

         “U.S. Trustee”) appointed an official committee of unsecured creditors (the “Committee”). See

         D.I. 106.

                  8.    This motion incorporates by reference the facts set forth in the First Day

         Declaration as if fully set forth herein. Additional facts specific to this motion are set forth

         below.

         B.       Specific Background

                        (a)    The Debtors’ Prepetition Marketing and Sale Efforts

                  9.    As set forth in the First Day Declaration, due to the anticipated 2018 business

         plan shortfall, the Debtors concluded that they would be unable to meet certain debt level

         covenant levels stemming from their prepetition credit facilities. As a result, among other things,
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         the Debtors engaged Houlihan Lokey Capital, Inc. (“Houlihan Lokey”) to explore strategic

         alternatives including, but not limited to, working with the lender groups on restructuring the

         Debtors’ debt and providing access to funds necessary for continued operations.

                10.     In March 2019, Houlihan Lokey began contacting strategic partners and financial

         buyers regarding the acquisition of some or all of the Debtors’ Assets. Houlihan Lokey indicated

         to such parties that the Debtors were open to a range of potential bid or transaction scenarios. As

         of the Petition Date, Houlihan Lokey had contacted sixty-five (65) parties, thirty-two (32) of

         whom have executed non-disclosure agreements with the Debtors. Following the Debtors’

         receipt of indications of interest from several potential buyers, the Debtors began to engage in

         advanced discussions regarding a potential sale transaction for some or all of the Debtors’ Assets

         with such parties. The bids submitted by those parties may also include assets of certain non-

         Debtor affiliates of the Debtors.

                        (b)     The Debtors’ Postpetition Efforts

                11.     Consistent with the milestones contained in the Debtors’ postpetition financing

         facility, the Debtors are working diligently to enter into an asset purchase agreement with a

         Stalking Horse Bidder by no later than June 10, 2019. Since the Petition Date, the Debtors have

         continued their discussions with potential buyers regarding potential sale transactions for some

         or all of their Assets. In addition, several additional parties have entered into non-disclosure

         agreements, and the Debtors have received additional indications of interest from certain parties.

         The Debtors anticipate that they may receive additional indications of interest from potential

         purchasers as the marketing and sale process continues and negotiations progress. The Debtors,

         with the assistance of their advisors, are working to accommodate diligence requests received

         from potential purchasers by, among other things, scheduling meetings with management,


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         participating in diligence calls and providing access to a diligence site, subject to execution of a

         non-disclosure agreement.

                          (c)      The Proposed Sale

                 12.      Given the time constraints imposed by the Debtors’ postpetition financing facility

         regarding obtaining a Bidding Procedures Order by a specific date, the Debtors, in consultation

         with their advisors, believe that pursuing a sale of their Assets in the manner described herein

         with the opportunity to lock in a Stalking Horse Bidder is the course of action most likely to

         maximize value and encourage robust bidder participation.

                 13.      Accordingly, by this motion, the Debtors seek authority to implement the Bidding

         Procedures outlined herein so as to efficiently market and solicit offers for the Assets. The

         Debtors believe that the relief requested herein will bolster the prospects of a value-maximizing

         sale transaction.

         C.      The Proposed Bidding, Notice, and Assumption and Assignment Procedures

                          (a)      Proposed Timeline for the Sale

                 14.      The Debtors propose the following timeline for the Sale:3

                                     Date                                                    Event
         July 17, 2019                                                   Assumption and Assignment Service Date
         August 1, 2019 at 5:00 p.m. (prevailing Eastern Time)           Bid Deadline
                                                                         Sale Objection Deadline and Assumption
         August 1, 2019 at 5:00 p.m. (prevailing Eastern Time)
                                                                         and Assignment Objection Deadline
         August 6, 2019 at 10:00 a.m. (prevailing Central Time)          Auction
         August 8, 2019 at 5:00 p.m. (prevailing Eastern Time)           Auction Objection Deadline
         August 12, 2019 at 12:00 p.m. (prevailing Eastern Time)         Reply Deadline
         August 13, 2019 at 10:00 a.m. (prevailing Eastern Time)         Sale Hearing




                 3
                    The Debtors, in the exercise of their business judgment, reserve the right to change these sale-related
         dates to achieve the maximum value for the Assets.
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                 The Debtors submit that this proposed timeline is reasonable, will foster robust

         participation in the sale process, is consistent with local practice and custom, and will not

         prejudice any parties in interest.

                          (b)      The Bidding Procedures

                 15.      The Bidding Procedures are designed to maximize value for the Debtors’ estates

         while ensuring an orderly and efficient sale process. The Bidding Procedures describe, among

         other things, (i) the procedures for interested parties to access due diligence materials, submit

         bids, and become qualified as a Stalking Horse Bidder or to participate in the Auction; (ii) the

         time, place, and process of any Auction; (iii) the selection and approval of any ultimately

         successful bidders; and (iv) the deadlines with respect to the foregoing. The Debtors believe,

         with the support of their secured creditors, that the Bidding Procedures provide for a sale process

         that will maximize the value of their estates and encourage robust participation in the bid process

         from all potential bidders. As discussed above, moving forward with this process at this time,

         and in the manner described herein, will support two important goals:                           (a) encouraging

         participation from the widest possible group of bidders for the Debtors’ Assets and

         (b) maximizing recoveries for the Debtors’ creditor constituencies.

                 16.      A summary of the principal terms of the Bidding Procedures, a complete copy of

         which is attached hereto as Exhibit B, including the terms that are required to be highlighted in

         accordance with Local Rule 6004-1, is as follows:4




                 4
                     The following summary is qualified in its entirety by reference to the provisions of the Bidding
         Procedures. In the event of any inconsistencies between the provisions of the Bidding Procedures and the terms
         herein, the terms of the Bidding Procedures shall govern. Capitalized terms not defined in this table shall have the
         meaning ascribed to them in the Bidding Procedures.
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         Assets to Be Sold     Substantially all or any portion or combination of the Assets either
         (p. 1)                through one sale to a Successful Bidder or multiple sales to multiple
                               Successful Bidders.

         Access to Diligence   To receive access to due diligence materials and to participate in the
         Materials (p. 2)      bidding process, an interested party must submit to the Debtors or
                               already be bound by (i) an executed confidentiality agreement in form
                               and substance satisfactory to the Debtors, (ii) evidence demonstrating
                               the party’s financial ability to consummate a sale transaction for the
                               Assets (any such transaction, a “Transaction”), and (iii) a statement
                               that such party has a bona fide interest in purchasing all or some of the
                               Assets.

                               A party who, in the Debtors’ reasonable discretion, satisfies the
                               requirements set forth in the immediately preceding sentence for
                               receiving access to diligence materials shall be a “Diligence Party.”
                               As promptly as practicable after the Debtors determine that a party is a
                               Diligence Party, the Debtors will deliver to the Diligence Party access
                               to the Debtors’ confidential electronic data room. The Debtors will
                               afford any Diligence Party the time and opportunity to conduct
                               reasonable due diligence before the Bid Deadline (as defined below).
                               Notwithstanding the foregoing, the Debtors reserve the right to
                               withhold any diligence materials that the Debtors determine are
                               sensitive or otherwise not appropriate for disclosure to a Diligence
                               Party who the Debtors determine is a competitor of the Debtors or is
                               affiliated with any competitor of the Debtors. Neither the Debtors nor
                               their representatives shall be obligated to furnish information of any
                               kind whatsoever to any person that is not determined to be a Diligence
                               Party.
         Qualification of      To be eligible to participate in the Auction, each offer, solicitation, or
         Bidders and           proposal (each, a “Bid”), and each party submitting such a Bid (each,
         Qualified Bids        a “Bidder”) must satisfy each of the conditions set forth below, as
         (pp. 3–6)             determined by the Debtors, in consultation with the Consultation
                               Parties. A Bid will not be considered qualified for the Auction if such
                               Bid does not satisfy each of the following conditions:

                                      (a)    Good Faith Deposit: Each Bid for all or a portion of
                               the Assets must be accompanied by a deposit (a “Good Faith
                               Deposit”) submitted by wire transfer of immediately available funds
                               to an account identified by the Debtors. Each Good Faith Deposit
                               must equal in the case of a Bid for all or a portion of the Assets, the
                               amount of ten percent (10%) of the purchase price contained in the
                               Modified Purchase Agreement (as defined below), or such other
                               amount as the Debtors determine, in consultation with the
                               Consultation Parties.


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                               (b)     Bids for Portions of the Assets: A Bid may offer to
                        purchase all or substantially all of the Assets, any portion of the Assets
                        or any combination of the Assets. The Debtors may, in consultation
                        with the Consultation Parties, waive or modify the application of the
                        Qualified Bid conditions in respect of Bids for a portion of the Assets.

                                (c)    Higher or Better Terms: To the extent a Stalking Horse
                        Bidder is selected, each subsequent Bid for any Assets subject to the
                        Stalking Horse Agreement (alone or combined with Bids for other
                        Assets subject to the Stalking Horse Agreement) must be on terms
                        that, in the Debtors’ business judgment, in consultation with the Bid
                        Consultation Parties, are higher or better than the terms of the Stalking
                        Horse Agreement.

                                (d)     Executed Agreement: Each Bid must be based on the
                        Purchase Agreement or Stalking Horse Agreement, if applicable, and
                        must include executed transaction documents, signed by an authorized
                        representative of such Bidder, pursuant to which the Bidder proposes
                        to effectuate a Transaction (the “Modified Purchase Agreement”). A
                        Bid shall also include a copy of the Modified Purchase Agreement
                        showing all changes requested by the Bidder (including those related
                        to purchase price).

                                (e)   Designation of Assigned Contracts and Leases,
                        Payment of Cure Amounts: A Bid must identify any and all executory
                        contracts and unexpired leases of the Debtors that the Bidder wishes
                        to have assumed and assigned to it at closing and provide for the
                        payment of all cure amounts payable with respect to such contracts
                        and leases under the Bankruptcy Code.

                                (f)    Corporate Authority: A Bid must include written
                        evidence reasonably acceptable to the Debtors demonstrating
                        appropriate corporate authorization to submit the Bid and consummate
                        the proposed Transaction, provided that if the Bidder is an entity
                        specially formed for the purpose of effectuating the Transaction, then
                        the Bidder must furnish written evidence reasonably acceptable to the
                        Debtors of the submission of the Bid and consummation of the
                        Transaction by the equity holder(s) of such Bidder.

                                (g)    Disclosure of Identity of Bidder: A Bid must fully
                        disclose the identity of each entity that will be bidding for or
                        purchasing the Assets or otherwise participating in connection with
                        such Bid (including any equity holder or other financial backer if the
                        Bidder is an entity specifically formed for the purpose of effectuating
                        the Transaction), and the complete terms of any such participation,
                        including any binding agreements, arrangements, or understandings

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                        concerning a collaborative or joint bid or any other combination
                        concerning the proposed Bid.

                                (h)     Proof of Financial Ability to Perform: A Bid must
                        include written evidence that the Debtors reasonably conclude, in
                        consultation with their advisors and the Bid Consultation Parties,
                        demonstrates that the Bidder has the necessary financial ability to
                        (i) close the Transaction and (ii) provide adequate assurance of future
                        performance under all contracts to be assumed and assigned in such
                        Transaction. Such information must include, inter alia, the following:

                                        1. contact names and telephone           numbers     for
                                           verification of financing sources;

                                        2. evidence of the Bidder’s internal resources and
                                           proof of unconditional debt funding commitments
                                           from a recognized financial institution and, if
                                           applicable, equity commitments in an aggregate
                                           amount equal to the cash portion of such Bid
                                           (including, if applicable, the Bidder’s payment of
                                           cure amounts) or the posting of an irrevocable
                                           letter of credit from a recognized banking
                                           institution issued in favor of the Debtors in such
                                           amount, in each case, as are needed to close the
                                           Transaction;

                                        3. the Bidder’s current financial statements (audited
                                           if they exist) or other similar financial information
                                           reasonably acceptable to the Debtors;

                                        4. a description of the Bidder’s pro forma capital
                                           structure; and

                                        5. any such other form of financial disclosure or
                                           credit-quality support information or enhancement
                                           reasonably requested by the Debtors, in
                                           consultation with the Bid Consultation Parties,
                                           demonstrating that such Bidder has the ability to
                                           close the Transaction.

                                (i)    Regulatory and Third-Party Approvals: A Bid must set
                        forth each regulatory and third-party approval required for the Bidder
                        to consummate the Transaction, if any, and the time period within
                        which the Bidder expects to receive such regulatory and third-party
                        approvals (and in the case that receipt of any such regulatory or third-
                        party approval is expected to take more than thirty (30) days following
                        execution and delivery of the Modified Purchase Agreement, those

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                        actions the Bidder will take to ensure receipt of such approval(s) as
                        promptly as possible).

                               (j)     Contingencies: Each Bid may not be conditioned on
                        obtaining financing or any internal approval, or on the outcome or
                        review of due diligence.

                                (k)    Irrevocable: Each Bid must expressly provide that
                        (i) the Bidder is prepared to consummate the transaction set forth in
                        the Modified Purchase Agreement promptly following entry of the
                        Sale Order and satisfaction of the closing conditions (if any) set forth
                        in the Modified Purchase Agreement, and (ii) the offer reflected in
                        such Bid shall remain open and irrevocable until the conclusion of the
                        Auction, provided that if such Bid is accepted as the Successful Bid or
                        the Backup Bid, such Bid shall continue to remain open and
                        irrevocable as provided under “Closing the Auction; Successful
                        Bidder” and “Backup Bidder” below.

                                 (l)    Purchase Price Allocation: Each Bid must: (i) clearly
                        state which Assets the Bidder is agreeing to purchase and which
                        liabilities the Bidder is agreeing to assume; (ii) clearly set forth the
                        purchase price to be paid, including and identifying separately any
                        cash and non-cash components; and (iii) specify the portion of the
                        aggregate purchase price thereunder that is being allocated to each of
                        the Assets (on a facility by facility basis), including, if applicable, any
                        equity interests in non-Debtor entities.

                                (m)   Bid Deadline: Each Bid must be received by each of
                        the following parties, in writing, on or before August 1, 2019 at 5:00
                        p.m. (prevailing Eastern Time) or such earlier date as may be
                        designated by the Debtors in consultation with the Consultation
                        Parties (the “Bid Deadline”): (a) counsel to the Debtors, (i) Akin
                        Gump Strauss Hauer & Feld LLP, 2001 K Street, N.W., Washington,
                        DC 20006, Attn: Scott L. Alberino, Esq. and Kevin Eide, Esq.
                        (keide@akingump.com) and 2300 N. Field Street, Suite 1800, Dallas,
                        TX 75201, Attn: Sarah Link Schultz, Esq. and (ii) Young Conaway
                        Stargatt & Taylor, LLP, Rodney Square, 1000 North King Street,
                        Wilmington, DE 19801, Attn:                M. Blake Cleary, Esq.
                        (mbcleary@ycst.com); (b) the U.S. Trustee, 844 King Street, Suite
                        2207, Wilmington, DE, 19801, Attn: Benjamin A. Hackman, Esq.
                        (Benjamin.A.Hackman@usdoj.gov); (c) counsel to the lender (the
                        “DIP Lender”) under the Debtors’ postpetition debtor-in-possession
                        financing facility, King & Spalding LLP, 1185 Avenue of the
                        Americas, New York, NY 10036, Attn: Arthur Steinberg, Esq.
                        (asteinberg@kslaw.com)       and     Terry    D.    Novetsky,     Esq.
                        (tnovetsky@kslaw); (d) counsel to the lenders (the “Prepetition
                        Priming Term Loan Lenders”) under the Debtors’ prepetition priming
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                               term loan facility, Ropes & Gray LLP, 1211 Avenue of the Americas,
                               New York, NY 10036, Attn: Matthew M. Roose, Esq.
                               (matthew.roose@ropesgray.com); (e) counsel to the administrative
                               agent (the “Prepetition Priming Term Facility Agent”) under the
                               Debtors’ prepetition priming term loan facility, Thompson Hine LLP,
                               335 Madison Avenue, 12th Floor, New York, NY 10017, Attn: John H.
                               Bae, Esq. (john.bae@thompsonhine.com); (f) counsel to the co-agents
                               (the “Prepetition Second Term Facility Agent”) under the Debtors’
                               prepetition second priority term loan facility, Shearman & Sterling
                               LLP, 599 Lexington Avenue, New York, NY 10022, Attn: Ned S.
                               Schodek, Esq. (ned.schodek@shearman.com) and Jordan Wishnew,
                               Esq. (jordan.wishnew@shearman.com); and (e) counsel to the official
                               committee of unsecured creditors (the “Committee”) (i) Greenberg
                               Traurig LLP, 77 West Wacker Drive, Suite 3100, Chicago, IL 60601,
                               Attn: Nancy A. Peterman, Esq. (petermann@gtlaw.com) and David D.
                               Cleary, Esq. (clearyd@gtlaw.com) and (ii) Bayard, P.A., 600 North
                               King Street, Suite 400, Wilmington, DE 19801, Attn: Justin R.
                               Alberto, Esq. (jalberto@bayardlaw.com) and Erin R. Fay, Esq.
                               (efay@bayardlaw.com).

                               A Bid received from a Bidder on or before the Bid Deadline that
                               meets the requirements set forth above for the applicable Assets shall
                               constitute a “Qualified Bid” for such Assets, and such Bidder shall
                               constitute a “Qualified Bidder” for such Assets.

         Credit Bidding        Notwithstanding anything else contained in the Bidding Procedures,
         (p. 9)                the DIP Lender and the lenders under the Debtors’ prepetition term
                               loan facilities shall have the right, subject in all respects to the
                               Bankruptcy Code and other applicable law, to credit bid all or any
                               portion of their allowed secured claims at the Auction pursuant to
                               Bankruptcy Code section 363(k) or other applicable law, in
                               accordance with the applicable provisions of the documents governing
                               such debt obligations; provided that such Bid otherwise complies with
                               these Bidding Procedures, any applicable intercreditor agreement and
                               the Bankruptcy Code and such credit bidding rights shall be subject to
                               entry of a final postpetition financing order and any challenge rights
                               preserved therein.

         Option to Select      Subject to the provisions set forth in the Bidding Procedures and in
         Stalking Horse with   consultation with the Consultation Parties, the Debtors may enter into
         Bid Protections       a Stalking Horse Agreement, subject to higher or otherwise better
         (p. 7)                offers at the Auction, with any Stalking Horse Bidder that submits a
                               Qualified Bid acceptable to the Debtors, in consultation with the
                               Consultation Parties, to establish a minimum Qualified Bid at the
                               Auction. Absent further order of the Court, the Stalking Horse
                               Agreement shall limit the break-up fees to an amount no greater than
                               3% of the Qualified Bid and expense reimbursement in an amount not
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                             to exceed $250,000 (together with the Minimum Overbid Increment,
                             the “Bid Protections”). In the event that the Debtors determine that
                             the Bid Protections must exceed the amounts set forth herein, the
                             Debtors shall request that the Court hold a hearing on the approval of
                             any such greater Bid Protections on an expedited basis.

                             In the event that the Debtors select one or more parties to serve as a
                             Stalking Horse Bidder, upon such selection, the Debtors shall provide,
                             to all parties on the Rule 2002 List, all parties expressing an interest in
                             the Assets and all parties holding liens on such Assets, three (3)
                             business days’ notice of and an opportunity to object to the
                             designation of such Stalking Horse Bidder and disclosure of the Bid
                             Protections set forth in the Stalking Horse Agreement, and absent
                             objection, the Debtors may submit an order to the Court under
                             certification of counsel approving the selection of such Stalking Horse
                             Bidder. To the extent necessary, the Debtors’ right to seek the Court’s
                             approval of one or more Stalking Horse Bidders, with notice and a
                             hearing, are preserved by the Bidding Procedures.

                             Any Stalking Horse Agreement executed by the Debtors and the
                             transactions contemplated thereby will be deemed a Qualified Bid for
                             all purposes, and any Stalking Horse Bidder party to a Stalking Horse
                             Agreement executed by the Debtors will be deemed to be Qualified
                             Bidder.

         Auction (pp. 8–9)   If two or more Qualified Bids for the same Assets are received by the
                             Bid Deadline, the Debtors will conduct the Auction to determine the
                             highest or otherwise best Qualified Bid. If less than two Qualified
                             Bids are received by the Bid Deadline with respect to any portion of
                             the Assets, the Debtors shall not conduct the Auction with respect to
                             such Assets. If only one Qualified Bid is received with respect to all
                             or a portion of the Assets, the Debtors may, after consultation with the
                             Consultation Parties, designate such Qualified Bid as a Successful
                             Bid. Only Qualified Bidders may participate in the Auction.

                             The Auction shall take place on August 6, 2019 at 10:00 a.m.
                             (prevailing Central Time) at the offices of counsel for the Debtors,
                             Akin Gump Strauss Hauer & Feld LLP, 2300 N. Field Street, Suite
                             1800, Dallas TX 75201, or such other place and time as the Debtors
                             shall reasonably notify all Qualified Bidders and the Consultation
                             Parties. The Auction shall be conducted according to the following
                             procedures:
                             Only the Debtors, the Consultation Parties, the Stalking Horse
                             Bidder(s) (if any), any other Qualified Bidders, and/or other party as
                             the Debtors may determine to include in their discretion, in each case
                             along with their representatives and advisors, shall be entitled to

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                               attend the Auction (such attendance to be in person) and only
                               Qualified Bidders will be entitled to make any Overbids (as defined
                               below) at the Auction.

                               The Debtors and their advisors shall direct and preside over the
                               Auction, which shall be transcribed. Other than as expressly set forth
                               in the Bidding Procedures, the Debtors (in consultation with the
                               Consultation Parties or, to the extent provided in the Bidding
                               Procedures, the Bid Consultation Parties) may conduct the Auction in
                               the manner they determine will result in the highest or otherwise best
                               offer for any of the Assets. The Debtors shall use their best efforts to,
                               at least twenty-four (24) hours prior to commencement of the Auction,
                               provide the Consultation Parties and each Qualified Bidder
                               participating in the Auction with a copy of the Modified Purchase
                               Agreement associated with the highest or otherwise best Qualified Bid
                               with respect to the Assets for which such Qualified Bidder is bidding,
                               as determined by the Debtors in consultation with the Bid
                               Consultation Parties (such highest or otherwise best Qualified Bid, the
                               “Auction Baseline Bid”). At the start of the Auction, the Debtors
                               shall describe the material terms of the Auction Baseline Bid and each
                               Qualified Bidder participating in the Auction must confirm that (a) it
                               has not engaged in any collusion with respect to the bidding or sale of
                               any of the Assets described in the Bidding Procedures, (b) it has
                               reviewed, understands, and accepts the Bidding Procedures, (c) it has
                               consented to the core jurisdiction of the Bankruptcy Court (as
                               described more fully below), and (d) its Qualified Bid is a good faith
                               bona fide offer that it intends to consummate if selected as the
                               Successful Bidder.

         Terms and             An “Overbid” is any bid made at the Auction, in accordance with the
         Announcement of       requirements set forth in the Bidding Procedures, subsequent to the
         Overbids (pp. 9-10)   Debtors’ announcement of the respective Auction Baseline Bid. To
                               submit an Overbid for purposes of this Auction, a Bidder must comply
                               with the following conditions:

                                       (a)    Minimum Overbid Increments: The initial Overbid, if
                               any, shall provide for total consideration to the Debtors with a value
                               that exceeds the value of the consideration under the Auction Baseline
                               Bid by an incremental amount that is not less than the sum of
                               (x) $500,000 (the “Minimum Overbid Increment”) plus (y) in the
                               event that the Debtors have entered into a Stalking Horse Agreement
                               with respect to the Assets to which the Overbid relates, the aggregate
                               amount of Bid Protections (including, for the avoidance of doubt, any
                               break-up fees and/or expense reimbursements) under such Stalking
                               Horse Agreement, and each successive Overbid shall exceed the then-
                               existing Overbid by an incremental amount that is not less than the
                               Minimum Overbid Increment. The Debtors reserve the right, in
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                        consultation with the Bid Consultation Parties, to announce reductions
                        or increases in the Minimum Overbid Increment at any time during
                        the Auction. Additional consideration in excess of the amount set
                        forth in the respective Auction Baseline Bid may include (i) cash
                        and/or noncash consideration, provided, however, that the value for
                        such non-cash consideration shall be determined by the Debtors in
                        their reasonable business judgment in consultation with the Bid
                        Consultation Parties, and (ii) in the case of a Bid by the DIP Lender or
                        the lenders under the Debtors’ prepetition term loan facilities, a credit
                        bid of up to the full amount of the such secured creditors’ allowed
                        secured claim, subject to the terms of any applicable intercreditor
                        agreement and the Bankruptcy Code and subject to the entry of a final
                        postpetition financing order and any challenge rights of the
                        Committee preserved therein.

                               (b)     Remaining Terms Are the Same as for Qualified Bids:
                        Except as modified in the Bidding Procedures, an Overbid at the
                        Auction must comply with the conditions for a Qualified Bid set forth
                        above, provided, however, that the Bid Deadline shall not apply. Any
                        Overbid must include, in addition to the amount and the form of
                        consideration of the Overbid, a description of all changes requested by
                        the Bidder to the Purchase Agreement or Modified Purchase
                        Agreement, as the case may be, in connection therewith. For the
                        avoidance of doubt, any Overbid shall be irrevocable and shall remain
                        open and binding on the Bidder in accordance with these Bidding
                        Procedures and the conditions for a Qualified Bid.

                        At the Debtors’ discretion, to the extent not previously provided
                        (which shall be determined by the Debtors in consultation with the
                        Bid Consultation Parties), a Bidder submitting an Overbid at the
                        Auction must submit, as part of its Overbid, written evidence (in the
                        form of financial disclosure or credit-quality support information or
                        enhancement reasonably acceptable to the Debtors), as the Debtors, in
                        their reasonable business judgment in consultation with the Bid
                        Consultation Parties, may request, demonstrating such Bidder’s ability
                        to consummate the Transaction proposed by such Overbid.

                        Announcement and Consideration of Overbids.

                               (a)     Announcement of Overbids: A Bidder submitting an
                        Overbid at the Auction shall announce at the Auction the material
                        terms of such Overbid, including the total amount and type of
                        consideration offered in such Overbid.

                                (b)     Consideration of Overbids: The Debtors reserve the
                        right, in their reasonable business judgment in consultation with the
                        Consultation Parties, to make one or more continuances of the Auction
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                                to, among other things: facilitate discussions between the Debtors and
                                individual Qualified Bidders; allow individual Qualified Bidders to
                                consider how they wish to proceed; and give Qualified Bidders the
                                opportunity to provide the Debtors with such additional evidence as
                                the Debtors, in their reasonable business judgment in consultation
                                with the Bid Consultation Parties, may require, that the Qualified
                                Bidder has sufficient internal resources, or has received sufficient non-
                                contingent debt and/or equity funding commitments, to consummate
                                the proposed Transaction at the prevailing Overbid amount; provided
                                that, to the extent the Debtors determine to request that any Qualified
                                Bidder increase the amount of their Good Faith Deposit, the Debtors
                                first shall consult with the Bid Consultation Parties before making
                                such request.

         Closing the Auction;   The Auction shall continue until there is only one Qualified Bid for
         Successful Bidder      the Assets that the Debtors determine in their reasonable business
         (p. 11)                judgment, in consultation with the Bid Consultation Parties, is the
                                highest or otherwise best Qualified Bid at the Auction. Thereafter, the
                                Debtors shall select such Qualified Bid, in consultation with the Bid
                                Consultation Parties, as the overall highest or otherwise best Qualified
                                Bid (such Bid, the “Successful Bid,” and the Bidder submitting such
                                Successful Bid, the “Successful Bidder”). In making this decision,
                                the Debtors shall consider the Bid Assessment Criteria.

                                The Auction shall close when the Successful Bidder(s) submits fully
                                executed sale and transaction documents memorializing the terms of
                                the Successful Bid(s). Within one (1) business day after the
                                conclusion of the Auction, the Successful Bidder(s) shall deliver an
                                additional Good Faith Deposit payment so that each such bidder’s
                                total Good Faith Deposit equals 10% of the purchase price of the
                                Successful Bid(s).

                                Promptly following the Debtors’ selection of the Successful Bid(s)
                                and the conclusion of the Auction, the Debtors shall announce the
                                Successful Bid(s) and Successful Bidder(s) and shall file with the
                                Bankruptcy Court notice of the Successful Bid(s) and Successful
                                Bidder(s).

                                The Debtors shall not consider any Bids submitted after the
                                conclusion of the Auction. The Successful Bidder(s) shall be required
                                to keep the Successful Bid(s) open and irrevocable until the closing of
                                the transactions contemplated thereby.

         Closing with           Notwithstanding anything in the Bidding Procedures to the contrary,
         Alternative Backup     the Qualified Bid for the Assets that the Debtors determine in their
         Bidders (p. 12)        reasonable business judgment, in consultation with the Bid
                                Consultation Parties, is the next highest or otherwise best Qualified
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                                Bid at the Auction after the Successful Bid, will be designated as the
                                “Backup Bid” and the Bidder submitting such Backup Bid, the
                                “Backup Bidder.” The Backup Bidder shall be required to keep the
                                Backup Bid open and irrevocable until the earlier of 5:00 p.m.
                                (prevailing Eastern Time) on the date that is eighty (80) days after the
                                date of entry of the Sale Order (the “Outside Backup Date”) or the
                                closing of the transaction with the Successful Bidder (defined herein).

                                Following entry of the Sale Order, if the Successful Bidder fails to
                                consummate the Successful Bid, the Debtors may, in consultation with
                                the Bid Consultation Parties, designate the Backup Bid to be the new
                                Successful Bid and the Backup Bidder to be the new Successful
                                Bidder, and the Debtors will be authorized, but not required, to
                                consummate the transaction with the Backup Bidder without further
                                order of the Bankruptcy Court. In such case of a breach or failure to
                                perform on the part of the Successful Bidder, the defaulting Successful
                                Bidder’s deposit shall be forfeited to the Debtors. The Debtors
                                specifically reserve the right to seek all available damages, including
                                specific performance, from any defaulting Successful Bidder
                                (including any Backup Bidder designated as a Successful Bidder) in
                                accordance with the terms of the Bidding Procedures.

         Modification of        The Debtors, in consultation with the Consultation Parties, in the
         Bidding and            exercise of their fiduciary duties for the purpose of maximizing value
         Auction Procedures     for their estates from the sale process, may modify the Bidding
         (pp. 10-11)            Procedures and implement additional procedural rules for conducting
                                the Auction. Specifically, among other things, the Debtors, in
                                consultation with the Bid Consultation Parties, may determine to
                                select more than one Successful Bid and more than one Successful
                                Bidder (and/or more than one Backup Bid and more than one Backup
                                Bidder, in which event such Backup Bids may provide for groupings
                                of Assets that are different from the groupings of Assets reflected in
                                the Successful Bid(s)) for separate portions of the Assets.


                       (c)    Reservation of Rights Regarding Potential Stalking Horse Bidder(s) and
                              Form of Purchase Agreement

                17.    As discussed above, the Debtors have determined, in a reasonable exercise of

         their business judgment, that seeking the relief requested herein and commencing a sale process

         is warranted and necessary.    The Debtors are continuing their discussions with potential

         purchasers and, in accordance with the Bidding Procedures, may enter into a purchase agreement


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         with any Stalking Horse Bidder acceptable to the Debtors to establish a minimum Qualified Bid

         at, and subject to higher or otherwise better offers during, the Auction.

                18.     To facilitate a competitive, value-maximizing Sale Transaction, the Debtors are

         requesting authority, in the exercise of their business judgment and in accordance with the

         Bidding Procedures, to offer any Stalking Horse Bidder one or more of: (i) a break-up fee in an

         amount not to exceed 3% of the Qualified Bid (the “Break-Up Fee”); (ii) reimbursement of the

         Stalking Horse Bidder’s reasonable fees and expenses not to exceed $250,000 (the “Expense

         Reimbursement”); and/or (iii) initial overbid protection (the “Minimum Overbid Increment”

         and, together with the Break-Up Fee and the Expense Reimbursement, the “Bid Protections”).

                19.     In lieu of a Stalking Horse Agreement at this time, the Debtors have prepared two

         (2) forms of asset purchase agreement (with certain ancillary agreements thereto, the “Purchase

         Agreement”), including one form of Purchase Agreement for parties interested in acquiring the

         equity interests in certain non-Debtor entities and one form of Purchase Agreement for parties

         interested in acquiring the Debtors’ other Assets. The Debtors intend to provide copies of the

         forms of Purchase Agreement to all parties who designate their interest in submitting a Bid and

         will also make such forms of Purchase Agreement available in the electronic dataroom

         established by the Debtors in connection with their sale process. As set forth in the Bidding

         Procedures, each Bid must be based on the Purchase Agreement and must include a markup

         showing any changes to the form of Purchase Agreement.

         D.     Notice Procedures

                20.     The Debtors propose the following notice procedures to be implemented in

         connection with the sale process.




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                        (a)     Notice of Sale, Auction, and Sale Hearing

                21.     Within five (5) days after the entry of the Bidding Procedures Order or as soon as

         reasonably practicable thereafter (the “Mailing Date”), the Debtors shall serve a sale notice,

         substantially in the form attached hereto as Exhibit C (the “Sale Notice”), the Bidding

         Procedures Order, and the Bidding Procedures by first-class mail, postage prepaid, or, for those

         parties who have consented to receive notice by the Electronic Case Files (“ECF”) system, by

         ECF, upon (i) all entities reasonably known to have expressed an interest in a transaction with

         respect to all or part of the Assets within the past two (2) years; (ii) all entities known to have

         asserted any lien, claim, interest, or encumbrance in or upon any of the Assets; (iii) counsel for

         the Committee; (iv) counsel to the DIP Lender; (v) counsel to the Prepetition Priming Term Loan

         Lenders; (vi) counsel to the Prepetition Priming Term Facility Agent; (vi) counsel to the

         Prepetition Second Term Facility Agent; and (viii) the U.S. Trustee; provided, however, that to

         the extent email addresses are available for any of the foregoing parties, such parties may be

         served by email.

                22.     In addition, within five (5) days after the entry of the Bidding Procedures Order or

         as soon as reasonably practicable thereafter, the Debtors shall serve the Sale Notice by first-class

         mail, postage prepaid or, for those parties who have consented to receive notice by the ECF

         system, by ECF, upon (i) all federal, state, and local regulatory or taxing authorities or recording

         offices which have a reasonably known interest in the relief granted herein; (ii) the United States

         Attorney’s offices for the District of Delaware, the Northern District of Texas and all states in

         which the Debtors conduct business; (iii) the Internal Revenue Service; (iv) all parties entitled to

         notice pursuant to Local Rule 2002-1(b); (v) all known creditors of the Debtors, including their

         contract counterparties; and (vi) all registered holders of equity securities in the Debtors. The


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         Debtors request that such notice be deemed sufficient and proper notice of the Sale Transaction

         with respect to known interested parties.

                23.     Notice by mail to all parties potentially interested in purchasing the Debtors’

         Assets or participating in the Auction is impracticable. As a result, the Debtors have determined

         that it is in the best interest of their estates to also provide notice by publication. Pursuant to

         Bankruptcy Rules 2002 and 6004, the Debtors propose to publish a version of the Sale Notice

         modified for publication in the New York Times and the Dallas Morning News on one occasion

         on the Mailing Date or as soon as reasonably practicable thereafter. In addition, the Debtors

         (i) respectfully request the authority, but not the direction, to publish the Sale Notice in

         additional publications as the Debtors deem appropriate and (ii) will cause the Sale Notice to be

         posted on their case information website at https://cases.primeclerk.com/HospitalAcquisition.

                        (b)     Notice of Selection of Stalking Horse Bidder

                24.     In the event that the Debtors select one or more parties to serve as a Stalking

         Horse Bidder, upon such selection, the Debtors shall provide, to all parties on all parties that

         have requested notice in these chapter 11 cases pursuant to Bankruptcy Rule 2002 (the “Rule

         2002 Notice List”) and all parties expressing an interest in the Assets and all parties holding liens

         on such Assets, three (3) business days’ notice of and an opportunity to object to the designation

         of such Stalking Horse Bidder and disclosure of the Bid Protections set forth in the Stalking

         Horse Agreement, and absent objection, the Debtors may submit an order to the Court under

         certification of counsel approving the selection of such Stalking Horse Bidder. To the extent

         necessary, the Debtors’ right to seek the Court’s approval of one or more Stalking Horse

         Bidders, with notice and a hearing, is hereby preserved.




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                        (c)     Date, Time, Place, and Notice of Auction

                25.     The Auction, if any, shall take place on August 6, 2019 at 10:00 a.m. (prevailing

         Central Time) at the offices of counsel for the Debtors, Akin Gump Strauss Hauer & Feld LLP,

         2300 N. Field Street, Suite 1800, Dallas, TX 75201, or such other place and time as the Debtors

         shall notify all Qualified Bidders and the Consultation Parties.

                        (d)     Notice of Successful Bidder

                26.     As soon as reasonably practicable after the conclusion of the Auction, the Debtors

         shall file on the docket, but not serve, a notice identifying any Successful Bidder(s) (the

         “Post-Auction Notice”), substantially in the form attached hereto as Exhibit D.

                        (e)     Date, Time, and Place of Sale Hearing

                27.     The Sale Hearing shall be conducted by the Court on August 13, 2019 at 10:00

         a.m. (prevailing Eastern Time) or such other date as the Court is available and may, in

         accordance with the Bidding Procedures Order, be adjourned or rescheduled without notice. At

         the Sale Hearing, the Debtors will seek Court approval of the Successful Bid and the Backup Bid

         (if any). Unless the Court orders otherwise, the Sale Hearing shall be an evidentiary hearing on

         matters relating to the Sale Transaction and there will be no further bidding at the Sale Hearing.

         In the event that the Successful Bidder cannot or refuses to consummate the Sale because of the

         breach or failure on the part of the Successful Bidder, the Backup Bidder will be deemed the new

         Successful Bidder and the Debtors shall be authorized, but not required, to close with the Backup

         Bidder on the Backup Bid without further order of the Court.

                        (f)     Objection Deadline

                28.     Objections, if any, to the Sale or entry of the Sale Order (a “Sale Objection”),

         must be filed by August 1, 2019 at 5:00 p.m. (prevailing Eastern Time) (the “Sale Objection

         Deadline”) and served on (i) counsel to the Debtors, (a) Akin Gump Strauss Hauer & Feld LLP,
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         (salberino@akingump.com) and Kevin M. Eide, Esq. (keide@akingump.com) and 2300 N. Field

         Street, Suite 1800, Dallas, TX 75201, Attn: Sarah Link Schultz, Esq. (sschultz@akingump.com)

         and (b) Young Conaway Stargatt & Taylor, LLP, Rodney Square, 1000 North King Street,

         Wilmington, DE 19801, Attn:           M. Blake Cleary, Esq. (mbcleary@ycst.com); (ii) the U.S.

         Trustee, 844 King Street, Suite 2207, Wilmington, DE, 19801, Attn: Benjamin A. Hackman,

         Esq. (Benjamin.A.Hackman@usdoj.gov); (iii) counsel to the DIP Lender, King & Spalding LLP,

         1185 Avenue of the Americas, New York, NY 10036, Attn:                        Arthur Steinberg, Esq.

         (asteinberg@kslaw.com) and Terry D. Novetsky, Esq. (tnovetsky@kslaw); (iv) counsel to the

         Prepetition Priming Term Loan Lenders, Ropes & Gray LLP, 1211 Avenue of the Americas,

         New York, NY 10036, Attn: Matthew M. Roose, Esq. (matthew.roose@ropesgray.com);

         (v) counsel to the Prepetition Priming Term Facility Agent, Thompson Hine LLP, 335 Madison

         Avenue,    12th        Floor,   New     York,   NY      10017,     Attn:     John   H.     Bae,   Esq.

         (john.bae@thompsonhine.com), (vi) counsel to the Prepetition Second Term Facility Agent,

         Shearman & Sterling LLP, 599 Lexington Avenue, New York, NY 10022, Attn: Ned S.

         Schodek,        Esq.      (ned.schodek@shearman.com)         and       Jordan       Wishnew,      Esq.

         (jordan.wishnew@shearman.com); (vii) counsel to the Committee, (a) Greenberg Traurig LLP,

         77 West Wacker Drive, Suite 3100, Chicago, IL 60601, Attn: Nancy A. Peterman, Esq.

         (petermann@gtlaw.com) and David D. Cleary, Esq. (clearyd@gtlaw.com) and (b) Bayard, P.A.,

         600 North King Street, Suite 400, Wilmington, DE 19801, Attn: Justin R. Alberto, Esq.

         (jalberto@bayardlaw.com) and Erin R. Fay, Esq. (efay@bayardlaw.com); and (viii) all parties

         that have requested notice in these chapter 11 cases (collectively (i)–(vii), the “Objection

         Recipients”).


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                29.     In addition, any objections relating to the Auction process (an “Auction

         Objection”) must be filed by August 8, 2019 at 5:00 p.m. (prevailing Eastern Time) (the

         “Auction Objection Deadline”) and served on the Objection Recipients and counsel to any

         Successful Bidder(s).

                30.     All replies to any Sale Objection, Auction Objection or Designated Contract

         Objection (as defined below) must be filed by August 12, 2019 at 12:00 p.m. (prevailing Eastern

         Time) (the “Reply Deadline”).

                31.     Any party failing to timely file an objection to any Sale Transaction or the

         Auction will be forever barred from objecting and will be deemed to have consented to any Sale

         Transaction, including the transfer of the Debtors’ right, title and interest in, to, and under the

         Debtors’ Assets free and clear of any and all liens, claims, encumbrances and other interests in

         accordance with a definitive agreement for any Sale Transaction.

         E.     Assumption and Assignment Procedures

                32.     The Debtors propose the procedures set forth below for notifying counterparties

         to executory contracts and unexpired leases of proposed cure amounts in the event the Debtors

         decide to assume and assign such contracts or leases.

                        (a)      Notice of Assumption and Assignment

                33.     On or before July 17, 2019 (any such date, the “Assumption and Assignment

         Service Date”), the Debtors shall file with the Court, and post on the website maintained for

         these chapter 11 cases at https://cases.primeclerk.com/HospitalAcquisition (the “Case Website”),

         a notice of assumption and assignment, substantially in the form attached hereto as Exhibit E

         (the “Notice of Assumption and Assignment”) and, included therewith, a list (the “Designated

         Contracts List”) that specifies (i) each of the Debtors’ executory contracts and unexpired leases

         (the “Designated Contracts”) and (ii) the proposed amount necessary, if any, to cure all
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         monetary defaults, if any, under each Designated Contract (the “Cure Costs”).5 If no Cure Cost

         is listed on the Designated Contracts List, the Debtors believe that there is no Cure Cost, as of

         the date of such notice. The Debtors shall serve, via first class mail, a customized version of the

         Notice of Assumption and Assignment, without the Designated Contracts List, which shall

         include (a) instructions regarding how to view that list on the Case Website (the “DCL

         Instructions”), (b) information necessary and appropriate to provide notice of the relevant

         proposed assumption and assignment of Designated Contract(s) and rights thereunder, (c) Cure

         Costs, if any, and (d) the procedures for objecting thereto ((b)–(d) collectively, the “Necessary

         Notice Information”) on all counterparties to the Designated Contracts. The Debtors shall serve,

         via first class mail, a modified version of the Notice of Assumption and Assignment that contains

         the DCL Instructions and Necessary Notice Information on the Rule 2002 Notice List. Service

         as set forth herein shall be deemed proper, due, timely, good, and sufficient notice and no other

         or further notice is necessary.

                 34.      A counterparty to a Designated Contract listed on the Notice of Assumption and

         Assignment may file an objection (a “Designated Contract Objection”) only if such objection is

         to the proposed assumption and assignment of the applicable Designated Contract or the

         proposed Cure Costs, if any. All Designated Contract Objections must (i) state, with specificity,

         the legal and factual basis for the objection as well as what Cure Costs are required, if any,

         (ii) include appropriate documentation in support thereof, and (iii) be filed and served on the

         Objection Recipients no later than August 1, 2019 at 5:00 p.m. (prevailing Eastern Time) (the

         “Assumption and Assignment Objection Deadline”).



                 5
                    For the avoidance of doubt, the failure by the Debtors to list a contract on the Designated Contract List
         shall not be deemed an admission that such contract is not executory and therefore not subject to assumption and
         assignment and the proposed Cure Cost for any such contract shall be deemed $0.00.
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                35.     If a counterparty to a Designated Contract files a Designated Contract Objection

         in a manner that is consistent with the requirements set forth above, and the parties are unable to

         consensually resolve the dispute prior to the Sale Hearing, the amount to be paid or reserved with

         respect to such objection will be determined at the Sale Hearing, such later hearing date that the

         Debtors determine in their discretion, or such other date determined by this Court.

                        (b)    Supplemental Notice of Assumption and Assignment

                36.     Although the Debtors intend to make a good-faith effort to identify all Designated

         Contracts that may be assumed and assigned in connection with a Sale Transaction, the Debtors

         may discover certain contracts inadvertently omitted from the Designated Contracts list or

         Successful Bidder(s) may identify other executory contracts or unexpired leases that they desire

         to assume and assign in connection with the Sale. Accordingly, the Debtors reserve the right, at

         any time after the Assumption and Assignment Service Date and before the closing of a Sale

         Transaction, to (i) supplement the list of Designated Contracts on the Notice of Assumption and

         Assignment with previously omitted Designated Contracts in accordance with the definitive

         agreement for a Sale Transaction, (ii) remove a Designated Contract from the list of contracts

         ultimately selected as a Designated Contract that a Successful Bidder proposes be assumed and

         assigned to it in connection with a Sale Transaction, and/or (iii) modify the previously stated

         Cure Cost associated with any Designated Contract.

                37.     In the event that the Debtors exercise any of the rights reserved above, the

         Debtors will promptly serve a supplemental notice of assumption and assignment (a

         “Supplemental Notice of Assumption and Assignment”).               The Supplemental Notice of

         Assumption and Assignment will be served by electronic transmission, hand delivery, or

         overnight mail on the counterparty (and its attorney, if known) to each impacted Designated

         Contract at the last known address available to the Debtors. Each Supplemental Notice of
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         Assumption and Assignment shall include the same information with respect to listed Designated

         Contracts as was included in the Notice of Assumption and Assignment.

                38.     Any counterparty to a Designated Contract listed on a Supplemental Notice of

         Assumption and Assignment may file an objection (a “Supplemental Designated Contract

         Objection”). A Supplemental Designated Contract Objection may be filed only if such objection

         is to the proposed assumption and assignment of the applicable Designated Contract or the

         proposed Cure Costs, if any. All Supplemental Designated Contract Objections must (i) state,

         with specificity, the legal and factual basis thereof as well as what Cure Costs the objecting party

         believes are required, if any, (ii) include appropriate documentation in support of the objection,

         and (iii) be filed and served on the Objection Recipients no later than fourteen (14) days from the

         date of service of such Supplemental Notice of Assumption and Assignment (the “Supplemental

         Designated Contract Objection Deadline”), which date will be set forth in the Supplemental

         Notice of Assumption and Assignment.

                39.     If a counterparty to a Designated Contract files a Supplemental Designated

         Contract Objection in a manner that is consistent with the requirements set forth above, and the

         parties are unable to consensually resolve the dispute, the Debtors will seek an expedited hearing

         before the Court (a “Supplemental Designated Contract Hearing”) to determine the Cure Costs,

         if any, and approve the assumption of the relevant Designated Contracts. If there is no such

         objection, then the Debtors will obtain an order of this Court, including by filing a certification

         of no objection, (a “Supplemental Designated Contract Order”) fixing the Cure Costs and

         approving the assumption of any Designated Contract listed on a Supplemental Notice of

         Assumption and Assignment.




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                        (c)     Additional Procedures

                40.     If the counterparty to a Designated Contract does not file and serve a Designated

         Contract Objection or Supplemental Designated Contract Objection in a manner that is consistent

         with the requirements set forth above, such counterparty will be deemed to have consented to the

         assumption and assignment of the Designated Contract to a Successful Bidder as an Acquired

         Contract (as defined below), notwithstanding any anti-alienation provision or other restriction on

         assumption or assignment in the Designated Contract, and shall be forever barred from asserting

         any objection with regard to such assumption and assignment, except with respect to the

         adequate assurance of future performance by such Successful Bidder.

                41.     Any objections to a Successful Bidder’s proposed form of adequate assurance of

         future performance must be filed and served on the Objection Recipients by the later of (i) the

         Auction Objection Deadline, and (ii) if applicable, the Supplemental Designated Contract

         Objection Deadline, and will be resolved at the Sale Hearing or at the Supplemental Designated

         Contract Hearing, as applicable, or, in the Debtors’ discretion, adjourned to a later hearing.

                42.     Absent the filing of a Designated Contract Objection or Supplemental Designated

         Contract Objection and a subsequent order of the Court establishing an alternative Cure Cost, the

         (i) Cure Costs, if any, set forth in the Notice of Assumption and Assignment (or Supplemental

         Notice of Assumption and Assignment) shall be controlling, notwithstanding anything to the

         contrary in any Designated Contract or any other document, and (ii) the counterparty to the

         Designated Contract will be deemed to have consented to the assumption, assignment, and sale

         of the Designated Contract and the Cure Costs, if any, and will be forever barred from asserting

         any other claims related to such Designated Contract against the Debtors or the applicable

         Successful Bidder, or the property of any of them.


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                 43.      The inclusion of a Designated Contract on the Notice of Assumption and

         Assignment (or Supplemental Notice of Assumption and Assignment) will not (a) obligate the

         Debtors to assume any Designated Contract listed thereon or the Successful Bidder(s) to take

         assignment of such Designated Contract or (b) constitute any admission or agreement of the

         Debtors that such Designated Contract is an executory contract.                      Only those Designated

         Contracts that are included on a schedule of assumed and Acquired Contracts attached to the

         final Purchase Agreement with the Successful Bidder(s) (each, an “Acquired Contract”) will be

         assumed and assigned to the Successful Bidder(s).

                                                   RELIEF REQUESTED

                 44.      By this motion, the Debtors request entry of the Bidding Procedures Order, which

         will authorize and approve, among other things: (i) the Bidding Procedures for soliciting bids;

         (ii) the Assumption and Assignment Procedures; (iii) the form and manner of notice with respect

         to certain procedures, protections, schedules, and agreements described herein and attached

         hereto;6 (iv) the scheduling of the Auction (if any) and the Sale Hearing; and (v) granting related

         relief. At the Sale Hearing, the Debtors will also request entry of the Sale Order(s) that will

         approve the Sale Transaction or Sale Transactions.

                                               SUPPORTING AUTHORITY

                 45.      Bankruptcy Code section 363(b)(1) provides that “[t]he trustee, after notice and a

         hearing, may use, sell, or lease, other than in the ordinary course of business, property of the

         estate.” 11 U.S.C. § 363(b)(1). Courts in this Circuit and others, in applying this section, have

         required that the sale of a debtor’s assets be based upon the sound business judgment of the

         debtor. See, e.g., Dai-Ichi Kangyo Bank, Ltd. v. Montgomery Ward Holding Corp. (In re


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                   To the extent that any of the deadlines set forth in this motion do not comply with the Local Rules, the
         Debtors hereby request a waiver of any such Local Rule.
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         Montgomery Ward Holding Corp.), 242 B.R. 147 (Bankr. D. Del. 1999) (holding that an asset

         sale may be authorized under Bankruptcy Code section 363 if the court finds a “sound business

         purpose” for the sale) (citing Committee of Equity Sec. Holders v. Lionel Corp. (In re Lionel

         Corp.), 722 F.2d 1063, 1070 (2d Cir. 1983)); see also Official Comm. of Unsecured Creditors v.

         LTV Corp. (In re Chateaugay Corp.), 973 F.2d 141, 143 (2d Cir. 1992) (holding that a judge

         reviewing a section 363(b) application must find from the evidence presented a good business

         reason to grant such application).

                46.     “Under Delaware law, the business judgment rule operates as a presumption ‘that

         directors making a business decision, not involving self-interest, act on an informed basis, in

         good faith and in the honest belief that their actions are in the corporation’s best interest.’”

         Continuing Creditors’ Comm. of Star Telecomms., Inc. v. Edgecomb, 385 F.Supp.2d 449, 462

         (D. Del. 2004) (quoting Grobow v. Perot, 539 A.2d 180, 187 (Del. 1988) overruled on other

         grounds, Brehm v. Eisner, 746 A.2d 244 (Del. 2000)); see also Ad Hoc Comm. of Equity Holders

         of Tectonic Network, Inc. v. Wolford, 554 F. Supp.2d 538, 555 n.111 (D. Del. 2008) (same).

         Thus, this Court should grant the relief requested in this motion if the Debtors demonstrate a

         sound business justification therefor. See In re Del. & Hudson Ry. Co., 124 B.R. 169, 179 (D.

         Del. 1991).

                47.     The Debtors have sound business justifications for selling the Assets at this time.

         The Debtors’ business has suffered from reduced Medicare reimbursement rates, declining

         eligible patient volumes and unfavorable operating results. Despite their efforts to adjust to these

         challenges, the Debtors determined that they would be unable to comply with certain covenants

         under their prepetition debt documents. As a result, the Debtors engaged in discussions with

         their lender groups and began evaluating various strategic alternatives. Based on their evaluation


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         of their strategic alternatives, the Debtors concluded that the best means of maximizing the value

         of their estates for the benefit of creditors would be to pursue a sale of their assets.

                 48.     Moreover, in the exercise of their business judgment, the Debtors have concluded

         that implementing a marketing and sale process on the terms set forth in the Bidding Procedures

         will enable the Debtors to maximize the value of their assets. As discussed above, the Bidding

         Procedures are calculated to foster the broadest possible participation by potential bidders while

         preserving the Debtors’ right to exercise their fiduciary duties should in connection with the

         marketing and sale process. This approach is grounded in the Debtors’ belief that commencing a

         fair and robust sale and auction process at this time may maximize the value of their estates for

         the benefit of creditors. Additionally, the Debtors’ secured creditors are supportive of the sale

         process.

                 49.     Accordingly, the Debtors submit that the Bidding Procedures are designed to

         maximize the value of the Assets and that the sale of the Assets to a Successful Bidder (or

         Successful Bidders), is in the Debtors’ best interests and should be approved.

         A.      The Bidding Procedures Are Fair, Designed to Maximize the Value Received for the
                 Acquired Assets and Are Consistent with the Debtors’ Reasonable Business
                 Judgment.

                 50.     The Bidding Procedures are consistent with the Debtors’ reasonable business

         judgment and should be approved. Courts have made clear that a debtor’s business judgment is

         entitled to substantial deference. See, e.g., Stanizale v. Nachtomi (In re Tower Air, Inc.), 416

         F.3d 229, 234 (3d Cir. 2005) (indicating the “business judgment rule creates a presumption that

         directors making a business decision, not involving self-interest, act on an informed basis, in

         good faith and in the honest belief that their actions are in the corporation’s best interest”

         (quotations omitted)).    To that end, courts recognize that procedures intended to enhance

         competitive bidding are consistent with the goal of maximizing the value received by the estate
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         and therefore are appropriate in the context of bankruptcy sales. See, e.g., Official Comm. of

         Subordinated Bondholders v. Integrated Res., Inc. (In re Integrated Res., Inc.), 147 B.R. 650,

         659 (S.D.N.Y. 1992), appeal dismissed, 3 F.3d 49 (2d Cir. 1993) (noting that such procedures

         “encourage bidding and to maximize the value of the debtor’s assets”); see also In re Cal Dive

         Int’l, Inc., No. 15-10458 (CSS) (Bankr. D. Del. June 25, 2015) [D.I. 539].

                51.     The Debtors believe that the Bidding Procedures are appropriate under

         Bankruptcy Code sections 105 and 363 to ensure that the bidding process is fair and reasonable

         and will yield the maximum value for their estates and creditors. The currently proposed

         Bidding Procedures will establish parameters pursuant to which the value of the Assets may be

         fully tested at the Auction and ensuing Sale Hearing.          Such procedures will increase the

         likelihood that the Debtors receive the greatest possible consideration for the Assets because they

         will ensure a competitive and fair bidding process that will encourage participation by financially

         capable bidders who demonstrate the ability to close such a transaction. Indeed, the Debtors

         have put limited (if any) constraints on the ability of prospective purchasers to bid on the Assets,

         and instead have encouraged bid flexibility by, inter alia, allowing the Debtors to consider all

         competing offers—including offers for all or some Assets—and to select, in their reasonable

         business judgment, and after consultation with the Consultation Parties (as defined in the

         Bidding Procedures), the highest or otherwise best offer for the Assets. The Bidding Procedures

         also provide potential bidders with sufficient notice and an opportunity to acquire information

         necessary to submit a timely and informed bid. Further, the Debtors have instituted mechanisms

         to ensure an open and robust bidding process at the Auction.

                52.     Accordingly, for all of the foregoing reasons, the Debtors believe that the Bidding

         Procedures (i) will encourage robust bidding for the Assets, (ii) are consistent with other


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         procedures previously approved by courts in this District, and (iii) are appropriate under the

         relevant standards governing auction proceedings and bidding incentives in bankruptcy

         proceedings and should be approved.

         B.     Bid Protections May Be Necessary to Preserve the Value of the Debtors’ Estates.

                53.     By this motion, the Debtors reserve the right to enter into a Stalking Horse

         Agreement, as an exercise of their business judgment and in accordance with the Bidding

         Procedures, and to offer Bid Protections in connection therewith. Specifically, the Debtors may

         offer any Stalking Horse Bidder some or all of the following Bid Protections: (i) a Break-Up

         Fee; (ii) an Expense Reimbursement; and/or (iii) a Minimum Overbid Increment. The Debtors

         respectfully reserve the right to seek approval of break-up fees and expense reimbursement in

         excess of the Bid Protections on an expedited basis

                54.     Approval of these forms of Bid Protections in connection with the sale of

         significant assets pursuant to Bankruptcy Code section 363 has become established practice in

         chapter 11 cases. See, e.g., Calpine Corp. v. O’Brien Envtl. Energy, Inc. (In re O’Brien Envtl.

         Energy, Inc.), 181 F.3d 527 (3d Cir. 1999); Integrated Res., Inc., 147 B.R. at 656–57 (noting that

         overbid procedures and break-up fee arrangements that have been negotiated by a debtor are to

         be reviewed according to the deferential “business judgment” standard, under which such

         procedures and arrangements are “presumptively valid”); In re 995 Fifth Ave. Assocs., L.P., 96

         B.R. 24, 28 (Bankr. S.D.N.Y. 1989) (holding that the business judgment standard protects break-

         up fees and other contractual provisions negotiated in good faith). The United States Court of

         Appeals for the Third Circuit has approved bidding incentives in the bankruptcy context. See In

         re O’Brien, 181 F.3d 527; see also Reliant Energy Channelview LP v. Kelson Channelview LLC

         (In re Reliant Energy Channelview LP), 594 F.3d 200, 206–08 (3d Cir. 2010). The court in

         O’Brien held that even though bidding incentives are measured against a business judgment
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         standard in non-bankruptcy transactions, the administrative expense provisions of Bankruptcy

         Code section 503(b) govern in the bankruptcy context. Accordingly, to be approved, bidding

         incentives must provide some post-petition benefit to a debtor’s estate. See In re O’Brien, 188

         F.3d at 533.

                55.      The Debtors believe that the Bid Protections increase the likelihood of a sale to a

         contractually committed bidder at a price the Debtors believe is fair, while providing the Debtors

         with an opportunity to enhance the value to their estate through an auction process. Without the

         Bid Protections, a Stalking Horse Bidder may not be willing to enter into a Purchase Agreement.

         The amount of the Bid Protections are a result of good-faith efforts and           reasonable and

         appropriate in light of the size and nature of the Sale Transaction and the efforts that likely will

         be expended by a Stalking Horse Bidder. Payment of the Bid Protections also will not diminish

         the value of Debtors’ estates, as the Debtors do not intend to terminate the Purchase Agreement

         and pay the Bid Protections, unless doing so would permit the Debtors to accept a better Bid.

         C.     Approval of the Sale Is Warranted under Bankruptcy Code Section 363(b).

                56.      As set forth above, a debtor may be authorized to sell assets out of the ordinary

         course of business pursuant to Bankruptcy Code section 363 and before obtaining a confirmed

         plan of reorganization when it demonstrates a sound business purpose for doing so. See In re

         Abbotts Dairies of Pa., Inc., 788 F.2d 143, 147-49 (3d Cir. 1986) (implicitly adopting the “sound

         business judgment test” of Lionel); In re Dura Auto. Sys., Inc., No. 06-11202 (KJC), 2007 WL

         7728109, at *5 (Bankr. D. Del. Aug. 15, 2007) (finding that “[t]he Debtors have demonstrated

         compelling circumstances and a good, sufficient, and sound business purpose and justification

         for the Sale prior to, and outside of, a plan of reorganization”); Dai-Ichi Kangyo Bank Ltd. v.

         Montgomery Ward Holding Corp. (In re Montgomery Ward Holding Corp.), 242 B.R. 147, 153

         (D. Del. 1999) (“In determining whether to authorize the use, sale or lease of property of the
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         estate under [section 363(b)], courts require the debtor to show that a sound business purpose

         justifies such actions . . . .”); Delaware & Hudson Ry. Co., 124 B.R. at 176 (sale of substantially

         all of debtor’s assets outside of reorganization plan is appropriate when a sound business reason

         justifies such a sale); Comm. of Equity Sec. Holders v. Lionel Corp. (In re Lionel Corp.), 722

         F.2d 1063, 1070 (2d Cir. 1983) (concluding that “there must be some articulated business

         justification, other than appeasement of major creditors, for using, selling or leasing property out

         of the ordinary course of business before the bankruptcy judge may order such disposition under

         section 363(b)”); Titusville Country Club v. Pennbank (In re Titusville Country Club), 128 B.R.

         396, 399 (Bankr. W.D. Pa. 1991) (stating that the “sound business purpose test” is appropriate).

         Once a court has determined there is a sound business justification for a sale outside of a plan,

         the court must also determine that (i) the trustee has provided the interested parties with adequate

         and reasonable notice, (ii) the sale price is fair and reasonable, and (iii) the purchaser is

         proceeding in good faith. Delaware & Hudson, 124 B.R. at 176.

                57.     The Debtors submit that the sale of the Assets is based upon their sound business

         judgment.    As explained above, the Debtors have determined that a sale, conducted in

         accordance with the Bidding Procedures, is in the best interest of their estates. Based on the

         declining performance of the Debtors’ business and their evaluation of various strategic

         alternatives, and cognizant of their fiduciary obligation to maximize value for the benefit of all

         creditors, the Debtors determined to seek approval of the Bidding Procedures to implement a

         marketing and sale process for their Assets. The Debtors believe that a sale process will allow

         them to obtain the highest value for the Assets and provide the greatest recovery to their

         creditors.




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                58.     The Debtors also meet the additional requirements necessary to approve a sale

         under Bankruptcy Code section 363. As stated herein, the Debtors will provide adequate notice

         of the Sale to interested parties, and the Debtors believe that the notice procedures described

         herein are reasonable and adequate under the circumstances. Additionally, the Debtors will enter

         into a Purchase Agreement only after a substantial and deliberate effort to market the Assets and

         if the sale price is fair and reasonable. Accordingly, the Debtors submit that it is a valid exercise

         of their business judgment to seek the relief requested by this motion.

         D.     The Proposed Sale Transaction Satisfies the Requirements of Bankruptcy Code
                Section 363(f) for a Sale Free and Clear of Interests.

                59.     Bankruptcy Code section 363(f) provides that a sale of encumbered property “free

         and clear of any interest” is permissible only if “applicable non-bankruptcy law permits sale of

         such property free and clear of such interest,” entities holding interests in the property consent to

         the sale, “such interest is a lien and the price at which such property is to be sold is greater than

         the aggregate value of all liens on such property, such interest is in bona fide dispute, or such

         entity could be compelled, in a legal or equitable proceeding, to accept a money satisfaction of

         such interest.” 11 U.S.C. § 363(f).

                60.     Bankruptcy Code section 363(f) is drafted in the disjunctive. As such, it is

         necessary to meet only one of these five conditions. To the extent an entity with liens on the

         Assets does not consent to the proposed Sale Transaction, the Debtors believe that they will be

         able to demonstrate at the Sale Hearing satisfaction of the requirements of Bankruptcy Code

         363(f). Alternatively, the Debtors may sell the Assets free and clear of any other interests under

         section 363(f)(5), because the liens on any Assets sold will attach to the proceeds of such a sale

         and entities holding such interests could be compelled to accept money satisfaction in legal or



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         equitable proceedings. Accordingly, pursuant to Bankruptcy Code section 363, the Debtors may

         sell the Assets free and clear of all liens, claims, and encumbrances.

                61.     The Debtors also submit that it is appropriate to sell the Assets free and clear of

         successor liability relating to the Debtors’ business. Such a provision ensures that the Successful

         Bidder is protected from any claims or lawsuits premised on the theory that the Successful

         Bidder is a successor in interest to one or more of the Debtors. Courts have consistently held

         that a buyer of a debtor’s assets pursuant to a Bankruptcy Code section 363 sale takes free and

         clear from successor liability relating to the debtor’s business. See, e.g., United States v. Knox-

         Schillinger (In re Trans World Airlines, Inc.), 322 F.3d 283, 288–90 (3d Cir. 2003) (sale of

         assets pursuant to section 363(f) barred successor liability claims for employment discrimination

         and rights under travel voucher program); United Mine Workers of Am. 1992 Benefit Plan v.

         Leckie Smokeless Coal Co. (In re Leckie Smokeless Coal Co.), 99 F.3d 573, 585–86 (4th Cir.

         1996) (affirming the sale of debtors’ assets free and clear of certain taxes); Amphenol Corp. v.

         Shandler (In re Insilco Techs., Inc.), 351 B.R. 313, 321–22 (Bankr. D. Del. 2006) (stating that a

         363 sale permits a buyer to take ownership of property without concern that a creditor will file

         suit based on a successor liability theory); In re General Motors Corp., 407 B.R. 463, 505-06

         (Bankr. S.D.N.Y. 2009), aff’d sub nom., In re Motors Liquidation Corp., 428 B.R. 43 (S.D.N.Y.

         2010) & 430 B.R. 65 (S.D.N.Y. 2010) (holding that “[T]he law in this Circuit and District is

         clear; the Court will permit GM’s assets to pass to the purchaser free and clear of successor

         liability claims, and in that connection, will issue the requested findings and associated

         injunction.”); In re Chrysler LLC, 405 B.R. 84, 111 (Bankr. S.D.N.Y. 2009) (“[I]n personam

         claims, including any potential state successor or transferee liability claims against New




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         Chrysler, as well as in rem interests, are encompassed by section 363(f) and are therefore

         extinguished by the Sale Transaction.”).

                62.     The purpose of an order purporting to authorize the transfer of assets free and

         clear of all liens, claims, encumbrances, and all other interests would be frustrated if claimants

         could thereafter use the transfer as a basis to assert claims against a purchaser arising from a

         seller’s pre-sale conduct. Moreover, without such assurances, the Debtors would run the risk

         that potential bidders may not enter the auction or, if they did, would do so with reduced bid

         amounts. To that end, the Successful Bidder should not be liable under any theory of successor

         liability relating to the Debtors’ businesses, but should hold the Assets free and clear.

         E.     A Successful Bidder Should Be Entitled to the Protections of Bankruptcy Code
                Section 363(m).

                63.     Pursuant to Bankruptcy Code section 363(m), a good faith purchaser is one who

         purchases assets for value, in good faith, and without notice of adverse claims. See Mark Bell

         Furniture Warehouse, Inc., v. D. M. Reid Assocs., Ltd. (In re Mark Bell Furniture Warehouse,

         Inc.), 992 F.2d 7, 8 (1st Cir. 1993); In re Willemain v. Kivitz, 764 F.2d 1019, 1023 (4th Cir.

         1985); In re Congoleum Corp., No. 03-51524, 2007 WL 1428477, *2 (Bankr. D.N.J. May 11,

         2007); Abbotts Dairies of Pa., 788 F.2d 143, 147 (3d Cir. 1986).

                64.     Any agreement consummating a Sale or Sales will be negotiated at arm’s-length

         by sophisticated parties, each represented by their own advisors. Accordingly, the Debtors

         request that the Sale Order(s) include a provision that the Successful Bidder (or Successful

         Bidders) for the Assets is a “good faith” purchaser within the meaning of Bankruptcy Code

         section 363(m). The Debtors believe that providing any Successful Bidder with such protection

         will ensure that the maximum price will be received by the Debtors for the Assets and closing of

         the same will occur promptly.

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         F.     Notice of the Auction and Sale Hearing Is Reasonable and Appropriate.

                65.     The Debtors submit that the Sale Notice as set forth above, along with publication

         of the Sale Notice as described herein above on one occasion on the Mailing Date or as soon as

         reasonably practicable thereafter (and in local publications of general circulation as the Debtors

         deem appropriate) is reasonable and appropriate and will be adequate to ensure that all interested

         parties have the opportunity to bid on the Assets, and/or object to the proposed sale of the

         Debtors’ Assets.   Accordingly, the Debtors submit that the foregoing method of notice is

         reasonable under the circumstances.

         G.     Assumption and Assignment of Executory Contracts and Unexpired Leases Should
                Be Authorized.

                66.     Bankruptcy Code section 365(a) provides, in pertinent part, that a debtor in

         possession “subject to the court’s approval, may assume or reject any executory contract or

         unexpired lease of the debtor.” 11 U.S.C. § 365(a). The standard governing a debtor’s decision

         to assume or reject an executory contract or unexpired lease is whether the debtor’s reasonable

         business judgment supports assumption or rejection. See, e.g., In re HQ Glob. Holdings, Inc.,

         290 B.R. 507, 511 (Bankr. D. Del. 2003) (debtor’s decision to assume or reject executory

         contract is governed by business judgment standard and can only be overturned if decision was

         product of bad faith, whim, or caprice); In re Market Square Inn, Inc., 978 F.2d 116, 121 (3d Cir.

         1992) (assumption or rejection of lease “will be a matter of business judgment by the bankruptcy

         court” (citation omitted)); Sharon Steel Corp. v. Nat’l Fuel Gas Distrib. Corp., 872 F.2d 36, 39-

         40 (3d Cir. 1989) (same). If the debtor’s business judgment has been reasonably exercised, a

         court should approve the assumption or rejection of an unexpired lease or executory contract.

         See Grp. of Inst. Investors v. Chi. M. St. P. & P.R.R. Co., 318 U.S. 523 (1943); Sharon Steel

         Corp. v. Nat’l Fuel Gas Distrib. Corp., 872 F.2d at 39–40. The business judgment test “requires

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         only that the trustee [or debtor in possession] demonstrate that [assumption or] rejection of the

         contract will benefit the estate.” Wheeling-Pittsburgh Steel Corp. v. West Penn Power Co., (In

         re Wheeling-Pittsburgh Steel Corp.), 72 B.R. 845, 846 (Bankr. W.D. Pa. 1987) (quoting In re

         Stable Mews Assocs., 41 B.R. 594, 596 (Bankr. S.D.N.Y 1984)). Any more exacting scrutiny

         would slow the administration of a debtor’s estate, increase costs, interfere with the Bankruptcy

         Code’s provision for private control of administration of the estate, and threaten the court’s

         ability to control a case impartially. See Richmond Leasing Co. v. Capital Bank, N.A., 762 F.2d

         1303, 1311 (5th Cir. 1985) (citation omitted). In addition, for a debtor to assume an executory

         contract, it must “cure, or provide adequate assurance that the debtor will promptly cure,” any

         default, including compensation for any “actual pecuniary loss” relating to such default. 11

         U.S.C. § 365(b)(1)(A).

                67.     Once an executory contract is assumed, the trustee or debtor in possession may

         elect to assign such contract. See L.R.S.C. Co. v. Rickel Home Ctrs., Inc. (In re Rickel Home

         Ctr., Inc.), 209 F.3d 291, 299 (3d Cir. 2000) (indicating that “[t]he Code generally favors free

         assignability as a means to maximize the value of the debtor’s estate”); Leonard v. General

         Motors Corp. (In re Headquarters Dodge, Inc.), 13 F.3d 674, 682 (3d Cir. 1994) (noting that

         purpose of Bankruptcy Code section 365(f) is to assist trustee in realizing the full value of the

         debtor’s assets).

                68.     Bankruptcy Code section 365(f) provides that the “trustee may assign an

         executory contract . . . only if the trustee assumes such contract . . . and adequate assurance of

         future performance is provided.” 11 U.S.C. § 365(f)(2). The meaning of “adequate assurance of

         future performance” depends on the facts and circumstances of each case, but should be given a

         “practical, pragmatic construction.” In re DBSI, Inc., 405 B.R. 698, 708 (Bankr. D. Del. 2009);


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         EBG Midtown S. Corp. v. McLaren/Hart Envtl. Eng’g Corp. (In re Sanshoe Worldwide Corp.),

         139 B.R. 585, 592 (S.D.N.Y. 1992); In re Decora Indus., 2002 U.S. Dist. LEXIS 27031, at * 23

         (D. Del. 2002) (stating that “adequate assurance falls short of an absolute guaranty of payment”

         (citation omitted)); Carlisle Homes, Inc. v. Azzari (In re Carlisle Homes, Inc.), 103 B.R. 524,

         538 (Bankr. D.N.J. 1988).

                69.     Adequate assurance may be provided by demonstrating the assignee’s financial

         health and experience in managing the type of enterprise or property assigned. See, e.g., In re

         Bygaph, Inc., 56 B.R. 596, 605-06 (Bankr. S.D.N.Y. 1986) (adequate assurance is present when

         prospective assignee of lease from debtor has financial resources and has expressed willingness

         to devote sufficient funding to business to give it strong likelihood of succeeding).

                70.     To facilitate and effect the proposed Sale Transaction, the Debtors request

         approval of the assumption and assignment of any Acquired Contracts to any Successful Bidder

         under Bankruptcy Code section 365. The Debtors further request that the Sale Order(s) provide

         that the Acquired Contracts will be transferred to, and remain in full force and effect for the

         benefit of, the Successful Bidder(s) notwithstanding any provisions in the Acquired Contracts,

         including those described in Bankruptcy Code sections 365(b)(2) and (f)(1) and (3) that prohibit

         such assignment.

                71.     Any Successful Bidder must (i) submit evidence sufficient to demonstrate its

         financial wherewithal and ability to consummate the Sale Transaction, including the assumption

         of the Acquired Contracts at the closing of the Asset Purchase Agreement and (ii) provide

         adequate assurance of future performance in connection with any assigned executory contracts

         and leases. Furthermore, to the extent that any defaults exist under any executory contract or




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         unexpired lease that is to be assumed and assigned in connection with the sale of the Assets, the

         Successful Bidder will cure any such default prior to such assumption and assignment.

                72.     The Debtors will present facts at the Sale Hearing to demonstrate the financial

         credibility, willingness, and ability of the Successful Bidder to perform under the Acquired

         Contracts.   The Sale Hearing thus will afford the Court and other interested parties the

         opportunity to evaluate the ability of the Successful Bidder to provide adequate assurance of

         future performance under the Acquired Contracts, as required under Bankruptcy Code section

         365(b)(1)(C). Further, as set forth above, the Debtors will give notice to all parties to the

         Acquired Contracts or the Previously Omitted Contracts of their intention to assume the

         Acquired Contracts or the Previously Omitted Contracts, as the case may be, and what the

         Debtors believe are the Cure Costs.

                73.     Accordingly, the Debtors submit that implementation of the proposed Assumption

         and Assignment Procedures is appropriate in these cases. The Court therefore should have a

         sufficient basis to authorize the Debtors to reject or assume and assign contracts as will be set

         forth in the Successful Bidder’s Asset Purchase Agreement.

         H.     Request for Relief Pursuant to Bankruptcy Rules 6004(h) and 6006(d)

                74.     Bankruptcy Rule 6004(h) provides that an “order authorizing the use, sale, or

         lease of property . . . is stayed until the expiration of 14 days after entry of the order, unless the

         court orders otherwise.” Fed. R. Bankr. P. 6004(h). Bankruptcy Rule 6006(d) further provides

         that an “order authorizing the trustee to assign an executory contract or unexpired lease under

         § 365(f) is stayed until the expiration of 14 days after the entry of the order, unless the court

         orders otherwise.” Fed. R. Bankr. P. 6006(d).

                75.     The Debtors believe that any Sale Transaction should be consummated as soon as

         practicable to preserve and maximize value. Accordingly, the Debtors request that any Sale
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         Order approving the sale of the Assets and the assumption and assignment of the Designated

         Contracts be effective immediately upon entry of such order and that the fourteen-day stay under

         Bankruptcy Rules 6004(h) and 6006(d) be waived.

                                   DEBTORS’ RESERVATION OF RIGHTS

                  76.    Except as otherwise provided in the Purchase Agreement, these Bidding

         Procedures or the Bidding Procedures Order, the Debtors further reserve the right, in their

         reasonable business judgment in consultation with the Consultation Parties or, to the extent

         provided herein, the Bid Consultation Parties to: (i) determine which bidders are Qualified

         Bidders; (ii) determine which Bids are Qualified Bids; (iii) determine which Qualified Bid is the

         highest or otherwise best proposal and which is the next highest or otherwise best proposal;

         (iv) reject, at any time prior to the closing of the Auction or, if no Auction is held, at any time

         prior to entry of the Sale Order, any Bid that is (a) inadequate or insufficient, (b) not in

         conformity with the requirements of these Bidding Procedures, the requirements of the

         Bankruptcy Code or, if applicable, any intercreditor agreement, or (c) contrary to the best

         interests of the Debtors and their estates; (v) waive terms and conditions set forth herein with

         respect to all potential bidders; (vi) impose additional terms and conditions; (vii) extend the

         deadlines set forth herein; (viii) continue or cancel the Auction and/or Sale Hearing in open

         court, or by filing a notice on the docket of the Debtors’ chapter 11 cases, without further notice;

         (ix) include any other party as a Consultation Party and attendee at the Auction; and (x) modify

         the Bidding Procedures and implement additional procedural rules for conducting the Auction so

         long as such rules are not inconsistent in any material respect with the Bankruptcy Code, any

         intercreditor agreement, if applicable, the Bidding Procedures Order, or any other order of the

         Court.


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                                                     NOTICE

                77.     The Debtors will provide notice of this motion to (i) the U.S. Trustee; (ii) counsel

         to the Committee; (iii) counsel to the agents under the Debtors’ prepetition credit facilities;

         (iv) counsel to the DIP Lender; (v) the Internal Revenue Service; and (vi) any parties entitled to

         notice pursuant to Local Rule 2002-1(b). In light of the nature of the relief requested in this

         motion, the Debtors respectfully submit that no further notice is necessary.


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                WHEREFORE, the Debtors respectfully request that the Court (i) enter the Bidding

         Procedures Order, (ii) after the Sale Hearing, enter the Sale Order or Sale Orders, and (iii) grant

         such other and further relief as is just and proper.

         Dated: June 6, 2019
                Wilmington, Delaware

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